IN THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF TENNESSEE

AT NASHVILLE
RICHARD LANE and )
LYNN LANE, )
)
Plaintiffs, )
)
)
)
)
V. ) Docket No.:
)
) JURY DEMAND
)
) Judge:
STATE AUTO PROPERTY )
AND CASUALTY INSURANCE ) Magistrate:
COMPANY, a.k.a )
STATE AUTO INSURANCE )
COMPANIES, )
)
Defendant. )

NOTICE OF REMOVAL OF CIVIL CASE
Defendant, State Auto Property and Casualty lnsurance Company (“State Auto”),
pursuant to 28 U.S.C. Sections 1332, 1441(a) and (c), and 1446, hereby gives notice of removal
of this action flom the Circuit Court of Sumner County, Tennessee, to the United States District

Court for the Middle District of Tennessee, at Nashville, and avers as follows:

1

Case 3:15-Cv-00174 Document 1 Filed 02/25/15 Page 1 of 4 Page|D #: 1

l. On or about January 22, 2015, Plaintiffs Richard and Lynn Lane filed a Complaint against
State Auto in the Circuit Court for Sumner County, Tennessee, under File No. 83CCI-2015-CV-

61 (Attached as Exhibit l).

2. On January 26, 2015, State Auto Was served With a copy of the Complaint via the Tennessee

Department of Commerce and lnsurance. This Was the first receipt or notice of the Complaint by

State Auto. No proceedings on the Complaint have transpired in the Circuit Court for Sumner

County.

3. Richard Lane and Lynn Lane are citizens and residents of Robertson County, Tennessee.

4. State Auto is an Ohio Corporation With its principal place of business in Columbus, Ohio.

5.The Complaint seeks $275,000 in payment under the insurance policy, plus an additional

twenty-five (25%) percent bad faith faith penalty, pursuant to T.C.A. Section 56-7-105.

6. There is complete diversity of citizenship, and the amount in controversy in this case,

exclusive of interest and costs, exceeds $75,()00.

7. State Auto has filed a copy of this notice With the Circuit Court of Sumner County, Tennessee,

and has served a copy on the attorney for the Plaintiffs.

2

Case 3:15-cv-00174 Document 1 Filed 02/25/15 Page 2 of 4 Page|D #: 2

8. Michael Parks Mills, counsel for State Auto, is duly licensed in the State of Tennessee and is

admitted to practice in the United States District Court for the Middle District of Tennessee.

WHEREFORE, State Auto requests this action be removed from the Circuit Court for
Sumner County, Tennessee to the United States District Court for the Middle District of

Tennessee.

Respectfully Submitted,

V/

\# ‘ l
Michael Parks Ms BPR#OlOSSl
Mills & Cooper
5042 Thoroughbred Lane
Brentvvood, TN 37027
(615)221~8218
michaelmills@millscooper.comcastbiz.net

3

Case 3:_15-cv-00174 Document 1 Filed 02/25/15 Page 3 of 4 Page|D #: 3

CERTIFICATE OF SERVICE

I hereby certify that on 25th day of February, 2015, a true and correct copy of this notice
Was sent via first class mail, postage prepaid, and via e-mail, to the following:

Benj amin K. Dean

Attorney at Lavv

2209 Memorial Blvd.
Springfield, TN 37127
ben@robertsoncountylavv.com

 

 

l\/l/ichadl. Parks M`i{lls

4

Case 3:15-cv-00174 Document 1 Filed 02/25/15 Page 4 of 4 Page|D #: 4

